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                          UNITEB STATES DISTRICT COURT
                          SOUTMERN BISTRICT 0F FLORIDA
                                 KIAMI DIVISION                FILED by              D.C.
                            Case 1:1720275-cr-Ungaro
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 UKITED STATES
        Plaintiff                                                STEVEN M LARIMORE
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 KEVIN FUSCO
        Defendant
                      HOTION ORDERING PLAINTIFF RESPONSES

 COHES now. Defendant, does hereby request this court issue an order direqting
 the United States to respond.to Deendants prior (2) motions before this court.


                                       HISTORY

 Defendant filed a motion dated 16 July 2018, requesting the court Grant him
 leave to ffle for a post convbctlon hearing. As of this date. neither
 government nor court has responded.

 Defendant further filed for relief purusant to 28 U.S.C. j 2201 in a motion
 dated 15 August 2018. again, Wlth no affirmative reponse from the government
 or this court.



                                RELIEF REkUESTED

 Defendant request this court GRANT such relief, and ORDER the United States
 to enter an affihmative reponse on both prior motions so as to afford
 Defendant his protected rights.



  Submitted this 11th day of September 2018


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  Kevin Fusco
  Prn ' Se
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